                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:13CR 56-MOC-DSC


UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
          v.                                         )              ORDER
                                                     )
JESUS IBARRA-QUEN,                                   )
                                                     )
                        Defendant.                   )
_________________________________________________ )



       THIS MATTER is before the Court on Defendant’s “Application for Admission to

Practice Pro Hac Vice” (document #76) for defense counsel Mathew J. Lombard.               For the

reasons set forth therein, the Motion will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Max O. Cogburn, Jr.

       SO ORDERED.                            Signed: May 6, 2013




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